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12

13                          UNITED STATES DISTRICT COURT
14                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
15                                    WESTERN DIVISION
16
      TASHA SCHWIKERT-WARREN,
17                                                      Civil Case No.: 2:19-cv-161
18
                        Plaintiff,

19
                                                        NOTICE OF RELATED CASES
            v.
                                                        [Local Rule 83-1.3]
20
      LAWRENCE NASSAR, USA
21    GYMNASTICS, KATHY SCANLAN,
22    BOB COLAROSSI, UNITED STATES
      OLYMPIC COMMITTEE, AND DOES 6
23    THROUGH 500,
24
                        Defendants.
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                                       NOTICE OF RELATED CASES
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 1         Defendant United States Olympic Committee (“USOC”) respectfully submits this
 2   Notice of Related Cases pursuant to Local Rule 83-1.3 to inform the Court that this action
 3   is closely related to the following actions pending in this district:
 4         1. McKayla Maroney v. Michigan State University et al., Case No. 2:18-cv-
 5   03461-JLS-KES;
 6         2. Jane PCNE Doe et al. v. USA Gymnastics et al., Case No. 2:18-cv-03464-
 7   JLS-KES;
 8         3. Jordyn Marie Wieber v. United States Olympic Committee et al., Case No.
 9   2:18-cv-03462-JLS-KES;
10         4. Jane LM Doe v. Nassar, et al., Case No. 8:18-cv-01117-JLS-KES;
11         5. Jane JD Doe v. Doe 1, et al., Case No. 8:18-CV-01136-JLS-KES; and
12         6. All Olympia Gymnastic Center Inc. v. Lawrence Nassar et al., Case No.
13   2:18-cv-10540-JLS-KES;
14         7. Jane ED Doe v. Nassar, et al., Case No. 2:19-cv-167; and
15         8. Jordan Cobbs v. Nassar, et al., Case No. 2:19-cv-171 (altogether, the “Related
16   Cases”).
17         The claims against USOC in this action are based on Plaintiff’s allegations that
18   USOC failed to protect her from sexual abuse at the hands of Larry Nassar (a physician
19   allegedly retained by USA Gymnastics) while Plaintiff was training for or competing in
20   various gymnastic events. The Related Cases involve similar claims brought by other
21   gymnasts (McKayla Maroney, Jordyn Marie Wieber, Jane LM Doe, Jane JD Doe, Jane
22   ED Doe, and Jordan Cobbs), the parents of McKayla Maroney (Jane PCNE Doe et al.)
23   and owners of a gym where Ms. Maroney and LM Doe trained (All Olympia Gymnastic
24   Center, Galina Marinova, and Artur Akopyan), against USOC, USA Gymnastics, and
25   other defendants. All of the complaints assert substantially similar causes of action based
26   on Larry Nassar’s misconduct and arise out of substantially the same factual allegations.
27         Accordingly, the present case may “call for determination of the same or
28   substantially related or similar questions of law and fact” as the Related Cases, and the

                                                      2
                                              [Local Rule 83-1.3]
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 1   cases may “entail substantial duplication of labor if heard by different judges.” See Local
 2   Rule 83-1.3.1. USOC therefore believes it is appropriate to bring the Related Cases to
 3   the attention of this Court.
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      DATED: January 8, 2019                                COVINGTON & BURLING LLP

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 8
                                                            By:   /s/ Mitchell Kamin
 9                                                                Mitchell A. Kamin
10
                                                            Attorneys for Defendant
11                                                          United States Olympic Committee
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                                            [Local Rule 83-1.3]
